      Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 1 of 11




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

MARK WALTERS,                                 )
                   Plaintiff,                 )
                                              )
             v.                               )     No. 1:23-CV-03122-MLB
                                              )
OPENAI, L.L.C.,                               )
                                              )
                   Defendant.                 )


       BRIEF IN SUPPORT OF PLAINTIFF’S MOTION FOR COSTS
       AND ATTORNEY’S FEES PURSUANT TO 28 U.S.C. § 1447(c).

      Plaintiff moves for an award of costs and attorney’s fees upon the remand of

this case to state court. As grounds for this Motion, Plaintiff shows the Court as

follows:

Introduction

      Plaintiff commenced this action for defamation in the Superior Court of

Gwinnett County, Georgia on June 5, 2023. Doc. 1, p. 1. Defendant was served

with the summons and complaint on June 14, 2023. Doc. 1, p. 2. On July 14,

2023, Defendant filed a Notice of Removal to this Court pursuant to 28 U.S.C. §

1446(a) based on an allegation of diversity of citizenship. Doc. 1, p. 1. The Notice

did not list the members of Defendant, which is a limited liability company. On

July 17, 2023, Plaintiff’s counsel emailed Defendant’s counsel, pointing out that



                                          1
       Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 2 of 11




the removal documents contained insufficient information from which a

determination of diversity could be made. Declaration of John Monroe, ¶ 3.

      On July 21, 2023, Defendant filed a “Notice of Member Citizenship,” in

which it purported to identify its own member, but not the members of its

constituent entity. Doc. 11. Also on July 21, 2023, Defendant filed a motion to

dismiss, its only response to date it has filed to the Complaint. Doc. 12. The Brief

in support of the motion to dismiss contained 32 pages and was accompanied by 11

exhibits. Docs. 12-1 through 12-12.

      On August 7, 2023, the Court entered a text-only order finding that

Defendant had not shown diversity of citizenship and directing Defendant to show

cause by August 21, 2023 why the case should not be remanded. The Court also

ordered Plaintiff to respond to Defendant’s showing. On August 21, 2023,

Defendant filed a response to the Court’s order. Doc. 22. While the response

contained additional information, it did not list all the members of all the

constituent entities of Defendant’s direct members. Id. The same day, Plaintiff

filed a response, observing that Defendant did not list all the members of the

constituent entities and questioning whether there are more members than had been

disclosed (Defendant claimed that Microsoft Corporation is an “owner” but not a

“member,” without explaining the distinction for a limited liability company).

                                           2
      Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 3 of 11




Doc. 23. Plaintiff therefore concluded that Defendant had failed to carry its burden

of proving diversity of citizenship. Id.

      On September 22, 2023, the Court entered another text-only order, finding

that Defendant still had not proven diversity of citizenship and giving Defendant

“one last time” until October 6, 2023 to do so or the case would be remanded for

lack of subject matter jurisdiction. On October 6, 2023, Defendant indicated it

would not be proving diversity of citizenship and withdrew its notice of removal.

Doc. 33.

Argument

   1. Determination of Diversity of Citizenship

      A party removing a case to federal court based on diversity of citizenship

bears the burden of pleading citizenship and, if jurisdiction is challenged, bears the

burden of proving it. Rolling Green MHP v. Comcast Sch. Holdings, 374 F.3d

1020. 1022 (11th Cir. 2004). “To sufficiently allege the citizenships … a party must

list the citizenships of all the members of the limited liability company ….”

Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1021-

22 (11th Cir. 2004). Merely listing the principal place of business and the state

where the entity was formed is insufficient. Pro Care Emergency Med. Svcs., LLC

v. Compass Pointe Health Care Sys., No. 1:15-CV-2944-WSD (N.D.Ga.

                                           3
         Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 4 of 11




November 18, 2015) (“A limited liability company, unlike a corporation, is a

citizen of any state of which one of its members is a citizen, not of the state where

the company was formed or has [its] principal office”).

      When determining the citizenship of the parties for diversity
      jurisdiction purposes, a limited liability company (LLC) is a citizen of
      every state that any member is a citizen. And it is common for an
      LLC to be a member of another LLC. Consequently, citizenship of
      LLCs often ends up looking like a factor tree that exponentially
      expands every time a member turns out to be another LLC, thereby
      restarting the process of identifying the members of that LLC. The
      simplest misstep has the potential to derail years of litigation and
      result in massive financial sanctions….

Purchasing Power, LLC v. Bluestem Brands, Inc., 851 F.2d 1218, 1220 (11th Cir.

2017).

      Thus, at the time of filing the removal notice, Defendant objectively knew,

or should have known, that merely alleging the states of organization and its

principal place of business were insufficient, even irrelevant. Defendant was

obligated to list its members, and constituent entity members, with its removal

notice. It did not do so. Instead, it merely stated that it was organized under the

laws of the State of Delaware and had its principal place of business in California.

Doc. 1, p. 3.

      When Plaintiff brought the deficiency to Defendant’s attention, Defendant

filed some, but still not enough, information. When the Court brought the

                                          4
       Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 5 of 11




deficiency to Defendant’s attention, Defendant still failed to list constituent

members. After Plaintiff pointed out the (second) deficiency, Defendant’s counsel

called Plaintiff’s counsel and said he thought the case was going to be remanded.

Declaration of John Monroe, ¶ 4. His prediction came true because Defendant now

has indicated it will not make further attempts to show diversity of citizenship.

   2. Statutory Basis for Fee Awards

      28 U.S.C. § 1447(c) provides, in pertinent part, “If at any time before final

judgment it appears that the district court lacks subject matter jurisdiction, the case

shall be remanded. An order remanding the case may require payment of just costs

and any actual expenses, including attorney fees, incurred as a result of the

removal.” Remanding for lack of subject matter jurisdiction is mandatory. United

States v. Meister, 744 F.3d 1236, FN 3 (11th Cir. 2013) (use of the word “shall” is

mandatory and use of the word “may” is permissive). Awarding fees under §

1447(c) is discretionary.

      Awards of fees under § 1447(c) is guided by Martin v. Franklin Capital

Corp., 546 U.S. 132, 126 S.Ct. 707, 163 L.Ed. 2d 547 (2005). In Martin, the Court

undertook “to determine the proper standard for awarding attorney’s fees when

remanding a case to state court.” 546 U.S. at 134. The Court emphasized that

“The fact that an award of fees under § 1447(c) is left to the district court’s

                                           5
      Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 6 of 11




discretion … does not mean that no legal standard governs that discretion”. 546

U.S. at 139. “Discretion is not whim, and limiting discretion according to legal

standards helps promote the basic principle of justice that like cases should be

decided alike.” Id.

      The Court observed, “Congress thought fee shifting appropriate in some

cases. The process of removing a case to federal court and then having it

remanded back to state court delays resolution of the case, imposes additional costs

on both parties, and wastes judicial resources.” 546 U.S. at 140. The Court

ultimately concluded, “Absent unusual circumstances, courts may award attorney’s

fees under § 1447(c) only where the removing party lacked objectively reasonable

basis for seeking removal. Conversely, when an objectively reasonable basis

exists, fees should be denied.” 546 U.S. at 141. While the Court did not give an

exhaustive list of “unusual circumstances,” one example it gave was “a failure to

disclose facts necessary to determine jurisdiction.”

      Applying the foregoing principles to the present case, it is impossible to

know for certain whether Defendant had an objectively reasonable basis for

seeking removal. Defendant had four opportunities to show its objectively

reasonable basis (once when filing the removal originally, once after Plaintiff

pointed out the deficiency to Defendant, and once each after the two Court orders).

                                          6
       Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 7 of 11




Defendant failed to do so at each opportunity. Defendant’s failure to do so

supports either a valid inference that an objectively reasonable basis did not exist,

or that Defendants actions constitute “unusual circumstances.” Either way an

award of costs and fees is indicated.

      The Congressional objectives are furthered by an award. As the Martin

Court noted, removal followed by remand caused delay, increases the parties’ costs

and wastes judicial resources. As for delay, consider where this case would be if

there had been no removal. Defendant’s response to the initial Complaint was due

in state court 30 days after service, or on July 14, 2023. O.C.G.A. § 9-11-12(a).

Even if Defendant had filed a motion to dismiss, under Georgia law such a motion

has to be decided within 90 days. Even if it is not, only a 90-day extension of the

start of discovery is imposed (as opposed to an indefinite extension under federal

rules). O.C.G.A. § 9-1-12(j). Thus, discovery in state court would be starting next

week at the latest. As it is, discovery is nowhere in sight. Moreover, Defendant

has waited until the last possible moment to do everything in this case. Defendant

filed the removal notice on the last day to do so. Defendant filed the motion to

dismiss on the last day to do so. Defendant filed a response to the first order to

show cause on the last day to do so. And, Defendant filed a notice that it would




                                          7
       Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 8 of 11




not prove diversity on the last day to do so, even though Defendant had apparently

determined sooner that it would not do so.

      In addition, Plaintiff has had significantly increased costs on account of the

removal. His counsel had to arrange, prepare for, and attend the early planning

conference and participate in the drafting of the Joint Discovery Plan [Doc. 27].

His counsel had to sift through and respond to a very lengthy motion to dismiss.

This was especially burdensome because of the stark differences between the

notice pleading requirements in state court compared to the fact pleading

requirements in federal court. Stillwell v. Allstate Ins. Co., 663 F.3d 1329 (11th Cir.

2011) (“Indeed, under Georgia’s notice pleading standard, ‘it is immaterial

whether a pleading states conclusions or facts as long as fair notice is given, and

the statement of claim is short and plain.’”) Cf Ashcroft v. Iqbal, 556 U.S. 662,

678, 129 S.Ct. 1937, 173 L.Ed.2d 868 (2009) (“A court need not accept as true

“threadbare recitals of a cause of action’s elements, supported by mere conclusory

statements.”) Plaintiff therefore had to amend his complaint to address issues

raised by Defendant in Defendant’s motion to dismiss, solely because the case had

been removed to federal court with a different (more rigorous) pleading

requirement. Plaintiff also had to draft and serve initial disclosures, something not

present in state court cases.

                                          8
       Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 9 of 11




      Finally, the removal has unnecessarily consumed judicial resources. Over

40 documents have been filed in the case, all requiring review by the Court (and

Plaintiff) and in some cases, responses or other actions. Defendant has appeared

by six counsel, five of which have had to be admitted pro hac vice. The Court has

entered at least 8 document orders and two text-only orders.

   3. Calculation of Fee Award

      Having shown that a fee award is legally supported and furthers Congress’s

“large objectives,” Plaintiff will show the appropriate amount of an award. The

starting point for determining the amount of reasonable fees is the “lodestar”

amount – the hourly fee multiplied by the number of hours spent. Bivins v. Wrap It

Up, Inc., 548 F.3d 1348 (11th Cir. 2008). The lodestar amount applies to § 1147(c)

awards. Bujanowski v. Kocontes, No. 09-12840 (11th Cir. Dec. 30, 2009).

      The Court is itself an expert on the question of the reasonableness of fees

and may consider its own knowledge and experience concerning reasonable and

proper fees and form an independent judgment either with or without the aid of

witnesses as to the reasonableness of a fee request. Dependable Component

Supply, Inc. v. Carrefour Informatique Tremblant, Inc., 572 F.Appx. 796, 802

(11th Cir. 2014).




                                         9
      Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 10 of 11




      In the present case, Plaintiff’s counsel spent 21 hours on this case after

removal, with such time being necessitated by the removal. Declaration of John

Monroe, ¶ 5. This amount of time was reasonable. Id., ¶ 6. Counsel’s hourly rate

is $400, an amount that also is reasonable. Id., ¶¶ 8, 10. It is the amount he

regularly charges clients for civil litigation. Id., ¶ 9. Counsel has over 30 years of

experience practicing law, including extensive litigation in trial and appellate

courts at the state and federal level. Id., ¶¶ 7, 11. In September of 2023, Counsel

settled a fee award with an opposing counsel in Oglethorpe County, Georgia at a

rate of $400 per hour. Id., ¶ 12. As recently as March of this year, counsel’s

hourly rate of $400 was found to be reasonable by the Circuit Court of Brown

County, Wisconsin and awarded fees based on that rate. Id., ¶ 13.

Conclusion

      The lodestar amount based on the hours worked and the hourly rate is

$8,400. Plaintiff is not claiming any costs or other expenses associated with the

removal, so Plaintiff is seeking a total cost and fee award of $8,400.

                                               ______/s/ John R. Monroe______________
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                                          10
       Case 1:23-cv-03122-MLB Document 34-1 Filed 10/06/23 Page 11 of 11




I certify that this brief was prepared using a font and size as required by local rules.


/s/ John R. Monroe




                                                  11
